Case 1:13-cr-00695-B|\/|C Document 210-1 Filed 10/17/18 Page 1 of 4 Page|D #: 2145

Sept 27, 2018

Patrick Hein

Richard Donohue

US Attorney's Office

Eastern District of New York
271 Cadman Plaza East
Brooklyn, NY 11201

Howard Leventhal
Reg NO 46376-424
FPC Duluth

P.O. Box 1000
Duluth, MN 55814

RE: LEVENTHAL V U.S.
Case No. 18-cv-3470(BMC)
13-cr-695(BMC)

Rule 11 Safe Harbor Advisory

See attached unsigned copy of Motion For Rule to Show Cause (Indirect Civil
Contempt) Under Fed R Civ P Rule 11, for your submissions, Doc Nos. 207 and
207-1 in the above captioned matter. This letter constitutes your advisory
as required under the "Safe Harbor" provision of Rule 11, allowing you

21 days to withdraw said submissions.

Should you fail to do so, the enclosed

motion, which has been sent to Judge

Cogan unsigned, as a courtesy copy, will be filed with the Clerk.

Sin€;rely yours,

w /l//”~/“n

Howard Leventhal

  

cc: Judge Brian M. Cogan (as courtesy 4

 

 

:opy, not for filing)

Case 1:13-cr-00695-B|\/|C Document 210 1 Filed 10/17/18 Page 2 of 4 Page|D #: 2146

UNITED STATES lSTRlCT COURT
EASTERN DlSTRl T OF NEW YORK

Leventhal )

§ Case No. _
v ) 18-cv-3470( C)
United States ) (13°Cr"695( C))

MOTION FOR.RULE TO SHOW CAUS
Under Fed R Ci
NOW COMES PETITIONER/DEFENDANT
hereby respectfully submitting this mo
sanctions against Patrick Hein and Ric
in the office of United States Attorne
In support of this motion, Leventhal s
1) On Sept 17, 2018 two individuals
State of New York, submitted filings i
attorneys, Patrick T. Hein and Richard
under their signatures or electronic f
Fed R Civ P Rule 11.
Rule 11 also mandates that filin

2)

be frivolous, nor submitted for improp

 

n this matter, Docs 207 and 207-1.

(INDIRECT CIVIL CONTEMPT)
P Rule 11

oward Leventhal, a non-attorney pro se,
tion under Fed R Civ P Rule 11, for
hard Donohue, publicly paid employees
y for the Eastern District of New York.

tates as follows:

claiming to be attorneys licensed by the
Said

P. Donoghue, submitted said filings

acsimile signatures, as required under

gs made by attorneys or parties shall not

er purposes such as to oppress the

opposing party, harass or dilate the proceedings. Moreover Rule 11 requires that

such submissions shall be relevant to he proceedings, grounded in law and

particularly applicable here - made on y after conducting a good faith

investigation into the subject matter actual allegations. Hein and Donoghue's

said filings do not comply with these

3) The above-named filers applied t

equirements.

this court to expand the time allowed

for their response to the 2255 petitio pending in this matter, stating that

due to the 80+ pages of factual allega ions in said 2255 petition, an extra-

ordinarily lengthy amount of time woul be required to properly formulate a

Page 1 of l

Case 1:13-cr-00695-B|\/|C Document 210 1 Filed 10/17/18 Page 3 of 4 Page|D #: 2147

meaningful and relevant response, pre eded by, presumably, a good faith
investigation (paraphrasing). Given a 1 of the extra time granted, the court
should reasonably expect and demand t at the filers would perhaps file a

Single affidavit or declaration from t least one employee of the Department

of Justice contradicting the 2255 pet tion's factual allegations. Particularly
with reference to Petitioner's claims of fraud on the court relating to the
numerous promises and assurances made to this court regarding medical care,

a topic of no less than 2/3 of the th ee calendar years it took before this
court to establish applicable predica es to sentencing - and given that the

DOJ employs approximately 300 (ostens bly) licensed and qualified medical
doctors in its Bureau of Prisons - an that each and every one of said doctors,
from.sea to shining sea, has instanta eous access to Howard Leventhal's official
BOP Medical Records - if Leventhal's laims in the 2255 petition were false,

no more than 2 hours spent by any of he above described otherwise unemployable
doctors would have settled the issue ntirely and destroyed the validity of
Leventhal's current claims. Obviously then, the absence of any kind of sworn
evidence filed in the Government's an wer to the 2255 petition, proves the
petition's allegations.

4) Obviously further, the entire o nearly the entire 133 pages of the
Government's answer in this matter, D cs 207 and 207-1, are nothing more or
less than a smokescreen to obscure thfs court's view that all of the:spoken and
written promises made to the Court (in~the record and in oral statements made
repeatedly by the assigned line prosecutor), were deliberate frauds on the
court, invalidating the court's sentence by any measure or standard. An egregious
manifest injustice emerges from the abpve, unbefitting any sworn officer of

the United States Department of ”Justice."

5) As Rule 11 requires, the undersigned provided a "Safe Harbor" letter to
the above identified filers on Sept 28, 2018 via U.S. postal mail, prepaid and

deposited with prison authorities for further deposit in postal mail.

Page 2 of 3

 

Case 1:13-cr-00695-B|\/|C Document 210-1 Filed 10/17/18 Page 4 of 4 Page|D #: 2148

A copy of said Safe Harbor letter is attached hereto. So far as Leventhal is

able to determine, the filers have not as yet withdrawn their frivolous,

unpermitted and abusive filings as of

the date hereof.

NOW THEREFORE, Petitioner hereby prays this Court for an Order to

show cause why Patrick T. Hein and Richard P. Donoghue should not be found and

held in indirect contempt of this Court, or any other relief as this Honorable

Court deems fit.

Respectfully submitted,
PETlTIONER/DEFENDANT PRO SE

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/(@ <yut>a€ anew

Howard Leventhal Date
Reg No. 46376-424

FPC Duluth

P.O. Box 1000

Duluth, MN 55814

Page 3 Of 3

 

